                    Case 1:16-bk-12255-GM             Doc 779 Filed 11/03/20 Entered 11/03/20 11:29:00                          Desc
                                                       Main Document    Page 1 of 6


                    1    Jeremy V. Richards (CA Bar No. 102300)
                         John W. Lucas (CA Bar No. 271038)
                    2    PACHULSKI STANG ZIEHL & JONES LLP
                         10100 Santa Monica Blvd., 13th Floor
                    3    Los Angeles, CA 90067
                         Telephone: 310/277-6910
                    4    Facsimile: 310/201-0760
                         E-mail: jrichards@pszjlaw.com
                    5             jlucas@pszjlaw.com

                    6    Attorneys for David K. Gottlieb, Chapter 11 Trustee of the
                         Estates of Solyman Yashouafar and Massoud Aaron Yashouafar
                    7
                                                       UNITED STATES BANKRUPTCY COURT
                    8                                   CENTRAL DISTRICT OF CALIFORNIA
                                                         SAN FERNANDO VALLEY DIVISION
                    9
                         In re:                                                     Case No.: 1:16-bk-12255-GM
                   10
                         SOLYMAN YASHOUAFAR and MASSOUD                             Chapter 7
                   11    AARON YASHOUAFAR, 1
c:i..
..J
                                                                                    Jointly Administered
..J                                                         Debtors .
 en
 tzl
 :z;
                   12
0             <
"")
              i          In re:                                                     Case No.: 1:16-bk-12255-GM
&!I 3: ..
..l j         e    13
::c ... :;                                                                          Chapter 7
IIJ < <                  SOLYMAN YASHOUAFAR,
N~~
c:,     Ill   ..   14
:z;"' ..
 <
        :i: ..
        0 g
                                                            Debtor.
ti~~               15
;;;:          .9         In re:                                                     Case No.: 1:16-bk-12408-GM
en
..l
::>
:c
u                  16    MASSOUD AARON Y ASH OU AF AR,                              Chapter 7
<
i:i..
                                                            Debtor.
                                             CHAPTER 7 TRUSTEE'S
                   17
                        ~~~~~~~~~~~~~~CASESTATUSREPORT
                         Affects:
                   18                                                               Status Hearing:
                         li1 Both Debtors                                           DATE:            November 17, 2020
                   19    DD SolymandYashouafarh ~                                   TIME:            10.00 a.m.
                            Massou Aaron y as oua1ar                                                 21041 Burbank Boulevard
                   20                                       Debtors.                                 Courtroom 303
                                                                                                     Woodland Hills, CA 91367
                   21                                                               Judge:           Honorable Geraldine Mund
                   22

                   23             David K. Gottlieb, the duly appointed and acting chapter 7 trustee (the "Trustee"), in the

                   24   above captioned jointly administered cases of Solyman Yashouafar ("Solyman") and Massoud

                   25   Aaron Yashouafar ("Massoud" and together, the "Debtors"), hereby files this status report (the

                   26   "Status Report") and respectfully represents as follows:

                   27
                        1 TheDebtors, together with the last four digits of each Debtor's social security number are: Solyman Yashouafar
                   28
                        (5875) and Massoud Aron Yashouafar (6590).

                        DOCS_LA:333611.1 32274/001
                  Case 1:16-bk-12255-GM            Doc 779 Filed 11/03/20 Entered 11/03/20 11:29:00                 Desc
                                                    Main Document    Page 2 of 6


                  1             1.      The Trustee has completed administration of the last remaining material asset of the

                  2   Massoud Estate, namely the litigation relating to the Rexford Home. As a result of the court

                  3   approved settlement of that litigation, the Trustee has recovered approximately $1.55 million for the

                  4   benefit of the Massoud Estate, which when added to existing funds in the Estate, brings the total

                  5   cash balance in the Massoud Estate to approximately $1.92 million. The Solyman Estate, on the

                  6   other hand, has cash on hand of only $99.86 and no additional assets to administer.

                  7             2.      As the Court is aware, there is substantial overlap between the creditors of the

                  8   Solyman Estate and the creditors of the Massoud Estate, given that the Debtors typically jointly and

                  9   severally guaranteed business debt.

                 10             3.      The Trustee intends to file a final report in the Solyman Case, indicating that there are

ci..
                 11   no assets for distribution to creditors.
..:I
..:I
Cf.I
Ill              12             4.      In the Massoud Case, the Trustee estimates approximately $250,000 in accrued and
z
0          <
~
           i
&IS;,
.J.H
           CIC
                 13   unpaid chapter 7 expenses and approximately $1.45 million in accrued and unpaid chapter 11
::c ......
Ill<<
t":5 i::~             expenses. The Trustee is in the process of determining whether there are any outstanding tax
 c,:,.,.,
     2 ....
                 14
Z       CIC"'
<       0 C
ti~~             15   obligations of the estate.
~         .s
.J::>
Cf.I


::c
t.)              16             5.      The Trustee has now completed limited objections to disputed general unsecured
<
Q..


                 17   claims against the Massoud Estate, and the total allowed, or deemed allowed general unsecured

                 18   claims equal just over $85 million.

                 19             6.      The Trustee has asked the Chapter 11 administrative creditors to agree to a partial

                 20   subordination of their allowed fees and expenses in order to permit approximately $850,000 (or

                 21   approximately a one percent distribution) to be distributed to the allowed creditors of the Massoud

                 22   Estate.

                 23             7.      The Trustee has a hearing date for final approval of all chapter 7 and chapter 11 fees

                 24   for December 22, 2020, at 10.00 a.m., after which the Trustee will file a final report and make a

                 25   single distribution to the holders of allowed unsecured claims against Massoud, the amount of which

                 26   will be dependent upon an agreement with professionals regarding partial subordination of their

                 27   allowed chapter 11 administrative expenses.

                 28


                      DOCS_LA:333611.l 32274/001
          Case 1:16-bk-12255-GM            Doc 779 Filed 11/03/20 Entered 11/03/20 11:29:00           Desc
                                            Main Document    Page 3 of 6


          1   Dated: November 3, 2020                     PACHULSKI STANG ZIEHL & JONES LLP
          2
                                                          By: Isl Jeremy V. Richards
          3                                                   Jeremy V. Richards
          4                                                   Attorneys for
                                                              David K. Gottlieb, Chapter 11 Trustee
          5

          6

          7

          8
          9

         10

         11
CL.
..:l
..:l
12       12
..,z
0

o/J?::
..ij
         13
:c ...
-
Ill<
 .,
N>
         14
0~
z ..
< 0
ti 5     15
~
~
::,
:c       16
u
<
CL.

         17

         18

         19

         20

         21

         22

         23

         24

         25

         26

         27

         28


              DOCS_LA:333611.1 32274/001
               Case 1:16-bk-12255-GM              Doc 779 Filed 11/03/20 Entered 11/03/20 11:29:00                       Desc
                                                   Main Document    Page 4 of 6


               1                                     PROOF OF SERVICE OF DOCUMENT

               2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                   address is: 10100 Santa Monica Blvd. Suite 1300, Los Angeles, CA 90067.
               3
                   A true and correct copy of the following documents entitled (specify): CHAPTER 7 TRUSTEE'S CASE
               4   STATUS REPORTwill be served or was served (a) on the judge in chambers in the form and manner
                   required by LBR 5005-2(d); and (b) in the manner stated below:
               5
                   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
               6   General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
                   document. On (date) November 3, 2020, I checked the CM/ECF docket for this bankruptcy case or
               7   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
                   receive NEF transmission at the email addresses stated below:
               8
                                                                         181   Service information continued on attached page
               9
                   2. SERVED BY UNITED STATES MAIL:
              10   On (date) November 3, 2020, I served the following persons and/or entities at the last known addresses in
                   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
              11   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
Cl,.
~
~
                   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
13:z:         12   is filed.
0       <
'"')
        i
di$
..:I    e"'   13
:c      ::;
Ill      <
        <.>
N
0
:z:
        ~..   14                                                         181    Service information continued on attached page
;:      t,
        :.:
        <
Cl.I
~       3     15   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
Cl)
..:I
::>
                   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
:c
(.)
<
              16   (date) November 3, 2020, I served the following persons and/or entities by personal delivery, overnight mail
Cl,.               service, or (for those who consented in writing to such service method), by facsimile transmission and/or
              17   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail
                   to, the judge will be completed no later than 24 hours after the document is filed.
              18
                    Honorable Geraldine Mund
              19    United States Bankruptcy Court
                    Central District of California
              20    21041 Burbank Boulevard, Suite 312 / Courtroom 303
                    Woodland Hills, CA 91367
              21
                                                                         D     Service information continued on attached page
              22
                   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
              23     November 3, 2020            Gini L. Downing                          _A_s_l_G_in_i_L._D_o_w_n_in_.g...__ _ _ _ __
                     Date                        Printed Name                               Signature
              24
              25
              26
              27
              28

                   DOCS_LA:33361 I.I 32274/001
 Case 1:16-bk-12255-GM            Doc 779 Filed 11/03/20 Entered 11/03/20 11:29:00          Desc
                                   Main Document    Page 5 of 6


 I   1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

 2        •   Timothy C Aires tca@arlawyers.com, gperez@arlawyers.com
 3        •   Bret D. Allen ca.ecf@bretallen.com, bankruptcy@theallenlawfirm.com
          •   Simon Aron saron@wrslawyers.com
 4        •   Larry G Ball lball@hallestill.com, kbauer@hallestill.com
          •   William H Brownstein Brownsteinlaw.bill@gmail.com
 5        •   Carol Chow carol.chow@ffslaw.com, easter.santamaria@ffslaw.com
          •   Henry S David hdavid@davidfinn.com, 8163836420@filings.docketbird.com
 6        •   Brian L Davidoff bdavidoff@greenbergglusker.com,
              calendar@greenbergglusker.com;jking@greenbergglusker.com
 7        •   Michael T Delaney mdelaney@bakerlaw.com
 8        •   Fahim Farivar fahim@farivarlaw.com, catherine@farivarlaw.com;lisa@farivarlaw.com
          •   Todd S Garan ch 1 lecf@aldridgepite.com, TSG@ecf.inforuptcy.com;tgaran@aldridgepite.com
 9        •   Marian Garza ecfnotices@ascensioncapitalgroup.com
          •   Thomas M Geher tmg@jmbm.com, bt@jmbm.com;fc3@jmbm.com;tmg@ecf.inforuptcy.com
10        •   Mark E Goodfriend markgoodfriend@yahoo.com, monica.yoohanna@gmail.com
          •   David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
11            dgottlieb@iq7technology.com,rjohnson@dkgallc.com,akuras@dkgal1c.com
          •   Lee W Harwell leehar@earthlink.net, shada12200@hotmail.com
12        •   Eric P Israel eisrael@dgdk.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com
13        •   Andrew V Jablon ajablon@rpblaw.com, mlynch@rpblaw.com
          •   Thomas P Jeremiassen (TR) tjeremiassen@dsi.biz, ntroszak@dsi.biz;rdizon@dsi.biz
14        •   Robert B Kaplan rbk@jmbm.com
          •   Andrew F Kim akim@atklaw.com, 6229175420@filings.docketbird.com
15        •   Matthew Kramer mkramer@wwhgd.com, iperez@wwhgd.com
          •   Zi Chao Lin zlin@garrett-tully.com, dcameron@garrett-tully.com;aanim-appiah@garrett-
16            tully .com;mdakinmurele@garrett-tully.com
          •   John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
17        •   Daniel J McCarthy dmccarthy@hillfarrer.com, spadilla@hillfarrer.com;nchacon@hfbllp.com
18        •   Ashley M McDow amcdow@foley.com,
              sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com
19        •   Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
          •   C John M Melissinos jmelissinos@greenbergglusker.com,
20            kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
          •   Jessica Mickelsen Simon jmsimon@hrhlaw.com
21        •   William K Mills mills@parkermillsllp.com, sally@parkermillsllp.com
          •   Shane J Moses smoses@foley.com
22        •   David L. Neale dln@lnbyb.com
          •   Juliet Y Oh jyo@lnbrb.com, jyo@lnbrb.com
23
          •   Tomas A Ortiz tortiz@garrett-tully.com
24        •   Keith C Owens kowens@venable.com, khoang@venable.com
          •   Dipika Parmar dipika.parmar@aissolution.com
25        •   Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
          •   Ronald N Richards ron@ronaldrichards.com,
26            mo ran i@ronaldrichards.com,justin@ronaldrichards.com
          •   S Margaux Ross margaux.ross@usdoj.gov
27        •   Kambiz J Shabani joseph@shabanipartners.com
          •   Mark M Sharf msharfil0@gmail.com,
28            21804 73420@filings.docketbird.com;mark_ 091@ecf.courtdrive.com

     DOCS_LA:333611.1 32274/001
               Case 1:16-bk-12255-GM            Doc 779 Filed 11/03/20 Entered 11/03/20 11:29:00                      Desc
                                                 Main Document    Page 6 of 6


               l       •    Nico N Tabibi nico@tabibilaw.com
                       •    United States Trustee (SV) ustpregion l 6.wh.ecf@usdoj.gov
               2       •    Maurice Wainer mrwainer@aol.com, daniel@swmfirm.com;mrwainer@swmfirm.com
                       •    Howard J Weg hweg@robinskaplan.com
               3
                       •    Thomas J Weiss tweiss@weisslawla.com,
               4            kgenova@weisslawla.com;szaman@weisslawla.comj@weisslawla.com
                       •    Gilbert R Yabes ecfcacb@aldridgepite.com, GRY@ecf.inforuptcy.com;gyabes@aldridgepite.com
               5       •    Aaron Ede Leest aed@dgdk.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com

               6       2.   SERVED VIA US MAIL:
                            CONSOLIDATED TOP 20 LIST OF GENERAL UNSECURED CREDITORS OF THE DEBTORS:
               7
                     Howard Abselet                      DMARC - 2007 CDS Garden Street       Chester Tower, LLC
               8     114 Pine Street                     180 Newport Center Drive, Ste. 260   PO Box 32428
                     Port Jefferson Station, NY 11776    Newoort Beach, CA 92666              Los Angeles, CA 90032
               9     N&S Investment LLC                  Sina Abselet                         Reliable Properties
                     18345 Ventura Blvd., Ste. 500       19 Doral Drive                       6399 Wilshire Blvd., Ste. 604
              IO     Tarzana, CA 91356                   Manhasset, NY 11030                  Los Aneeles, CA 90048
                     Parvin Rabbani                      Fereydoun Dayani                     Neman Brothers and Asst
Q..
              11     133 North Willaman                  18345 Ventura Blvd., Ste. 500        1525 Broadway
...:l
...:l
                     Beverly Hills, CA 90120             Tarzana, CA 91356                    Los Angeles, CA 90015
(I)
~             12     Edmond Lavi                         Yahouda Yahoudai                     JCBL Trust
..,z
0                    5177 Avenida Hacienda               10390 Wilshire Blvd, #1203           16661 Ventura Blvd., Ste. 608
o:d ll:
..Jj          13     Tarzana, CA 91356                   Los Angeles, CA 90024                Encino, CA 91436
::c ..
~<                   Yona Smith                          Mer Enterprises                      DMF Lighting
t'::5S
0       ;r.
              14     11766 Wilshire Blvd., Ste. 260      PO Box 32428                         1118 East 223rd Street, Unit 1
z"'
< 0
f-,::                Los Angeles, CA 90025               Los Angeles, CA 90032                Carson, CA 90745
en<
:;2           15     Eli Javid Bendavid                  Michael W. Vivoli                    Levene, Neale, Bender, Yoo & Brill
 1:/l
 ..J
:::,                 6839 Kings Harbor Drive             2550 Fifth Avenue, Ste 709           I 0250 Constellation Blvd., Ste. 170
::
 u
 <
              16     Rancho Palos Verdes, CA 90275       San Diego, CA 92103                  Los Aneeles, CA 90067
Q..
                     Hamid Joseph Nourmand               BB&T                                 DMF Lighting
              17     1801 Century Park East, Ste. 1830   c/o Peter J. Nugent                  1118 E. 223rd St., Unit 1
                     Los Angeles, CA 90067               2711 North Haskell Ave. Ste. 1300    Carson, CA 90745
              18                                         Lockbox 19
                                                         Dallas, TX 75204
              19     Hamid Ahmadi                        Iraj Zokai                           Mer Enterprises
                     6906 Rain Creek Parkway             I 058 22nd Street                    P.O. Box 32428
              20     Austin, TX 78759                    Santa Monica, CA 90403               Los Amteles, CA 90032

              21
              22
              23
              24
              25
              26
              27
              28

                   DOCS_LA:333611.1 32274/001
